    USCA11 Case: 22-10319           No. 26
                                Document: 22-10319
                                              Date Filed: 04/22/2022           Page: 1 of 71


      In The United States Court Of Appeals
            For The Eleventh Circuit
                                 ____________
                                  ZEN GROUP, INC.,
                                 CARLOS OTAMENDI,
                                                                  Plaintiffs - Appellants,

                                                v.

               STATE OF FLORIDA AGENCY FOR HEALTH
                       CARE ADMINISTRATION;
                   SECRETARY, STATE OF FLORIDA,
             AGENCY FOR HEALTH CARE ADMINISTRATION;
                             KELLY BENNETT,
                  individually and in her official capacity as
                   Chief of the Office of Medicaid Program
                     Integrity within the State of Florida,
                   Agency for Health Care Administration;
                            SHEVAUN HARRIS,
                                                                  Defendants - Appellees.

                                 ____________
         APPEAL FROM THE UNITED STATES DISTRICT COURT FOR THE SOUTHERN
           DISTRICT OF FLORIDA, 1:20-CV-23218 (HON. DARRIN P. GAYLES)
                                       ____________
                  PLAINTIFFS-APPELLANTS’ OPENING BRIEF
                                       ____________

Sean M. Ellsworth                                        Anthony C. Vitale
ELLSWORTH LAW FIRM, PA                                   THE HEALTH LAW OFFICE OF
1000 5th Street Suite 223                                ANTHONY C. VITALE, PA
Miami Beach, FL 33139                                    2333 Brickell Ave Suite A1
(305) 535-2529                                           Miami, FL 33129
                                                         (305) 358-4500


                                  Counsel for Plaintiffs-Appellants
                             GibsonMoore Appellate Services, LLC
                 206 East Cary Street ♦ P.O. Box 1406 (23218) ♦ Richmond, VA 23219
                               (804) 249-7770 ♦ www.gibsonmoore.net
 USCA11 Case: 22-10319      Document: 26     Date Filed: 04/22/2022   Page: 2 of 71



             CERTIFICATE OF INTERESTED PERSONS AND
               CORPORATE DISCLOSURE STATEMENT

1.   Bennett, Kelly A., Appellee

2.   Crabb, Thomas A., Counsel for Appellees

3.   Dennis, Laura M., Counsel for Appellees

4.   Ellsworth Law Firm, P.A., Counsel for Appellants

5.   Ellsworth, Sean, Counsel for Appellants

6.   Gayles, Darrin P., United States District Court Judge

7.   Harris, Shevaun, Former Acting Secretary for State of Florida Agency for
     Health Care Administration, Defendant in District Court

8.   Lunny, Christopher B., Counsel for Appellees

9.   Marstiller, Simone, Current Secretary State of Florida Agency for Health Care
     Administration

10. Mayhew, Mary C., Former Secretary for State of Florida Agency for Health
    Care Administration, Defendant in District Court

11. Otamendi, Carlos, Appellant

12. Radey Thomas Yon & Clark, P.A., Counsel for Appellees

13. State of Florida, Agency for Health Care Administration, Defendant in
    District Court

14. The Health Law Offices of Anthony C. Vitale, P.A., Counsel for Appellants

15. Vitale, Anthony C., Counsel for Appellants

16. Zen Group, Inc., Appellant




                                         i
 USCA11 Case: 22-10319      Document: 26      Date Filed: 04/22/2022   Page: 3 of 71



                               CERTIFICATIONS

      Pursuant to 11th Circuit Rule 26.1-2(c) and 26.1-3(b), Appellants certify that

they believe the above this is complete and they are not aware of any publicly

traded company or corporation that has an interest in the outcome of this appeal.

                                Respectfully submitted,

                                      ELLSWORTH LAW FIRM, P.A.
                                      Sean M. Ellsworth, Esq.
                                      Florida Bar No. 039845
                                      1000 5th Street, Suite 223
                                      Miami Beach, Florida 33139
                                      (305) 535-2529 telephone
                                      (305) 535-2881 facsimile
                                      sean@ellslaw.com

                                      /s/ Sean M. Ellsworth
                                      Sean M. Ellsworth




                                         ii
 USCA11 Case: 22-10319       Document: 26       Date Filed: 04/22/2022   Page: 4 of 71



              STATEMENT REGARDING ORAL ARGUMENT

      Appellants, Zen Group, Inc. (“Zen Group” or “Zen”) and Carlos Otamendi,

defer to the Court regarding whether oral argument would materially assist the

Court in this case. While Appellants believe the need to reverse the district court’s

order of dismissal is plain from the law and facts discussed herein, Zen and

Otamendi welcome any opportunity this Court provides to address any questions or

issues this Court believes necessary to resolving this appeal, including at oral

argument.




                                          iii
 USCA11 Case: 22-10319                    Document: 26             Date Filed: 04/22/2022                Page: 5 of 71



                                          TABLE OF CONTENTS
                                                                                                                       Page

CERTIFICATE OF INTERESTED PERSONS AND CORPORATE
DISCLOSURE STATEMENT ...................................................................................i

STATEMENT REGARDING ORAL ARGUMENT ............................................. iii

TABLE OF CONTENTS ..........................................................................................iv

TABLE OF AUTHORITIES .................................................................................. vii

STATEMENT OF SUBJECT MATTER AND APPELLATE
JURISDICTION......................................................................................................... 1

STATEMENT OF THE ISSUES............................................................................... 3

STATEMENT OF THE CASE .................................................................................. 4

         Standard Review ............................................................................................ 10

SUMMARY OF THE ARGUMENT ...................................................................... 10

I.       The District Court Erred In Dismissing Count I Of The AC ........................ 10

II.      The District Court Erred In Dismissing Count II Of The AC ....................... 13

ARGUMENT AND CITATIONS OF AUTHORITY ............................................ 16

I.       Count I of The AC States A Section 1983 Claim Under The
         Fourteenth Amendment, And The District Court Erred In Dismissing
         Count I ........................................................................................................... 16

         A.       Zen and Otamendi Had A Clear, Incontrovertible
                  Constitutionally-Protected Interest In The Property AHCA
                  Sought To Deprive Them Of By Way Of A Fine In AHCA’s
                  2019 FAR, Thus Even Accepting The District Court’s Flawed
                  Legal Framework, The District Court Erred In Dismissing
                  Count I ................................................................................................. 21



                                                             iv
 USCA11 Case: 22-10319             Document: 26            Date Filed: 04/22/2022                Page: 6 of 71



      B.    The District Court Failed To Address The Constitutional
            Theories Of Section 1983 Liability Alleged In The AC, Under
            Which Zen And Otamendi Stated A Claim In Count I ....................... 25

            1.       Zen And Otamendi Stated A Section 1983 Claim In
                     Count I By Alleging Defendants-Appellees Unlawfully
                     Retaliated Against Them For Exercise Of Their
                     Fourteenth Amendment Procedural Due Process Rights
                     To Challenge AHCA’s 2019 FAR ............................................ 25

                     a. Zen and Otamendi alleged they engaged in conduct
                        that is protected by the Constitution or by statute ............... 28

                     b. Zen and Otamendi alleged Bennett and other
                        Defendants took adverse action against them because
                        they engaged in the protected conduct................................. 29

            2.       Zen And Otamendi Stated A Section 1983 Claim In
                     Count I By Alleging Defendants-Appellees Violated The
                     Unconstitutional Conditions Doctrine Regarding The
                     Exercise Of Their Fourteenth Amendment Due Process
                     Rights ........................................................................................ 31

      C.    Defendants-Appellants Are Not Entitled to Qualified Immunity
            On Count I of the AC .......................................................................... 37

      D.    Conclusion ........................................................................................... 40

II.   Count II of the AC States A Section 1983 Claim Under The First
      Amendment And The District Court Erred In Dismissing Count II ............. 40

      A.    The First Amendment Protects The Right To Petition and To
            Free Speech and the Right To Be Free From Retaliation For the
            Exercise Of Those Rights .................................................................... 42

      B.    The District Court Erred By Extending The Pickering
            Balancing And Public Concern Test To The Petition Clause
            Claim Raised By Zen, A Medicaid Contractor That Petitioned
            To Challenge An AHCA Overpayment Demand ............................... 44



                                                      v
 USCA11 Case: 22-10319                   Document: 26            Date Filed: 04/22/2022               Page: 7 of 71



         C.       Even If The Public Concern Test Applies Here, The District
                  Court Erred In Dismissing Count II Because Zen and Otamendi
                  Were Petitioning and Speaking On Matters Of Public Concern
                  In The 2019 Administrative Case Challenging AHCA’s FAR ........... 50

         D.       Defendants-Appellees Are Not Entitled To Qualified Immunity
                  On Count II .......................................................................................... 57

         E.       Conclusion ........................................................................................... 57

CONCLUSION ........................................................................................................ 58

CERTIFICATE OF COMPLIANCE ....................................................................... 59

CERTIFICATE OF SERVICE ................................................................................ 59




                                                           vi
 USCA11 Case: 22-10319                 Document: 26           Date Filed: 04/22/2022             Page: 8 of 71



                                    TABLE OF AUTHORITIES
                                                                                                          Page(s)
Cases

Barnes v. Zaccari,
     669 F.3d 1295 (11th Cir. 2012) ..................................................................... 22

Barr v. Johnson,
      777 F. App’x 298 (11th Cir. 2019) ................................................................ 33

Bd. of Cty. Comm’rs, Wabaunsee Cty., Kan. v. Umbehr,
       518 U.S. 668 (1996)................................................................................passim

Bd. of Regents of State Colls. v. Roth,
       408 U.S. 564 (1972)....................................................................................... 22

Bennett v. Hendrix,
     423 F.3d 1247 (11th Cir. 2005) ..................................................................... 42

BMI Salvage Corp. v. Manion,
     366 Fed. Appx. 140 (2010) ............................................................................ 55

Bordenkircher v. Hayes,
     434 U.S. 357 (1978)...........................................................................26, 27, 39

Bourgeois v. Peters,
     387 F.3d 1303 (11th Cir.2004) ...................................................................... 32

Boxer X v. Harris,
      437 F.3d 1107 (11th Cir. 2006), abrogated on other grounds by
      Wilkins v. Gaddy, 559 U.S. 34 (2010) ........................................................... 49

Carollo v. Boria,
      833 F.3d 1322 (11th Cir. 2016) ..................................................................... 57

Carter v. City of Melbourne, Fla.,
      731 F.3d 1161 (11th Cir. 2013) ..................................................................... 56

City of San Diego v. Roe,
       543 U.S. 77 (2004)......................................................................................... 55



                                                        vii
 USCA11 Case: 22-10319                 Document: 26           Date Filed: 04/22/2022           Page: 9 of 71



Connick v. Myers,
     461 U.S. 138 (1983)...........................................................................15, 42, 50

DeMartini v. Town of Gulf Stream,
    942 F.3d 1277 (11th Cir. 2019) ...............................................................41, 42

Dep’t of Banking & Fin., Div. of Sec. & Inv’r Prot. v.
Osborne Stern & Co.,
      670 So. 2d 932 (Fla. 1996) ............................................................6, 17, 24, 28

Duryea, Pa. v. Guarnieri,
     564 U.S. 379 (2011)................................................................................passim

Echols v. Lawton,
      913 F.3d 1313 (11th Cir. 2019) ..................................................................... 10

Fetner v. City of Roanoke,
      813 F.2d 1183 (11th Cir. 1987) ..................................................................... 34

Gaines v. Wardynski,
     871 F.3d 1203 (11th Cir. 2017) ..................................................................... 37

Garcetti v. Ceballos,
     547 U.S. 410 (2006)...........................................................................47, 55, 56

Gessler v. DBPR.,
      627 So. 2d 501 (Fla. 4th DCA 1993)............................................................. 53

Grayden v. Rhodes,
     345 F.3d 1225 (11th Cir. 2003) ...............................................................34, 35

Harris v. Quinn,
      573 U.S. 616 (2014)....................................................................................... 54

Koontz v. St. Johns River Water Mgmt. Dist.,
     570 U.S. 595 (2013)................................................................................passim

Lebron v. Sec’y, Fla. Dep't of Child. & Fams.,
     710 F.3d 1202 (11th Cir. 2013) ..................................................................... 32




                                                       viii
 USCA11 Case: 22-10319                Document: 26           Date Filed: 04/22/2022           Page: 10 of 71



Matthews v. Eldridge,
     424 U.S. 319 (1976).................................................................................34, 35

Memorial Hospital v. Maricopa County,
    415 U.S. 250 (1974)....................................................................................... 32

North Carolina v. Pearce,
      395 U.S. 711 (1969)....................................................................................... 39

Oil States Energy Servs., LLC v. Greene’s Energy Grp., LLC,
       138 S. Ct. 1365 (2018).............................................................................13, 33

Pagan v. Sarasota Cty. Pub. Hosp. Bd.,
     884 So. 2d 257 (Fla. 2d DCA 2004) .............................................................. 53

Perry v. Sindermann,
      408 U.S. 593 (1972)...........................................................................22, 29, 33

Pickering v. Bd. of Ed. of Twnp. High Sch. Dist.,
      391 U.S. 563 (1968)................................................................................passim

Planned Parenthood v. Philip,
     194 F. Supp. 3d 1213 (N.D. Fla. 2016) ......................................................... 33

Pullman Co. v. State of Kansas ex rel. Coleman,
     216 U.S. 56 (1910)......................................................................................... 36

Ratliff v. DeKalb Cnty.,
       62 F.3d 338 (11th Cir. 1995) ......................................................................... 26

Ron Grp., LLC v. Azar,
     No. 2:20-CV-1038-ECM, 2021 WL 5576616
     (M.D. Ala. Nov. 29, 2021) ............................................................................ 22

United States v. Goodwin,
      457 U.S. 368 (1982)................................................................................passim

United States v. Schneider,
      853 F. App’x 463 (11th Cir. 2021) ................................................................ 27




                                                        ix
 USCA11 Case: 22-10319                   Document: 26            Date Filed: 04/22/2022              Page: 11 of 71



United States v. Toombs,
      748 F. App’x 921 (11th Cir. 2018) ................................................................ 27

Zinermon v. Burch,
      494 U.S. 113 (1990)....................................................................................... 33

Statutes

28 U.S.C. § 1291 ..........................................................................................................

28 U.S.C. § 1331 ....................................................................................................1, 2

28 U.S.C. § 1343 ........................................................................................................ 2

42 U.S.C. § 1343 ........................................................................................................ 2

42 U.S.C. § 1983 ...............................................................................................passim

Fla. Stat. § 119.011(12)..................................................................................... 51

Fla. Stat. § 120.57 .............................................................................................passim

Fla. Stat. § 120.57(1)(e)1(3) .................................................................................... 53

Fla. Stat. § 120.57(1)(e)2 ......................................................................................... 53

Fla. Stat. § 120.57(1)(e)4 ......................................................................................... 53

Fla. Stat. § 120.68(1)............................................................................................6, 17

Fla. Stat. § 120.569 ...........................................................................................passim

Fla. Stat. § 409.907(5)(a) (2019) ............................................................................. 23

Fla. Stat. § 409.913(1)(e) (2019) ............................................................................. 23

Fla. Stat. § 409.913(12) (2019) ................................................................................ 23




                                                            x
 USCA11 Case: 22-10319                 Document: 26           Date Filed: 04/22/2022             Page: 12 of 71



Constitutional Provisions

U.S. Const. amend. I .........................................................................................passim

U.S. Const. amend. IV ............................................................................................. 32

U.S. Const. amend. V............................................................................................... 32

U.S. Const. amend. XIV ...................................................................................passim

Regulations

42 C.F.R. § 455.23 .........................................................................................7, 18, 30

Fla.Admin.Code Ann. § 59G-4.125 ......................................................................... 52

Fla.Admin.Code Ann. § 59G-9.070(2)(f) ................................................................ 23

Fla.Admin.Code. Ann. § 59G-9.070(7) ................................................................... 23




                                                         xi
USCA11 Case: 22-10319       Document: 26      Date Filed: 04/22/2022   Page: 13 of 71



                    STATEMENT OF SUBJECT MATTER
                     AND APPELLATE JURISDICTION

      This appeal arises from a final order of dismissal issued by the United States

District Court for the Southern District of Florida on December 29, 2021. See

DE:45. 1

      In Counts I and II of the Amended Complaint (“AC”) filed in the district

court, Plaintiff-Appellants, Zen and Otamendi, alleged Kelly A. Bennett, Chief of

the Office of Medicaid Program Integrity (“MPI”) for the Florida Agency for

Health Care Administration (“AHCA” of “Agency”), and other defendants violated

Section 1983 of Title 42 of the United States Code (“Section 1983”) – when they

retaliated against Zen and Otamendi for exercising their statutory and

constitutional rights to challenge AHCA’s overpayment demand in violation of the

Fourteenth Amendment to the United States Constitution (Count I) and violated

their First Amendment rights by retaliating against Zen and Otamendi for

exercising their right to free speech and to petition the government for redress of

grievances (Count II).

      Thus, the district court had jurisdiction over this case pursuant to Section

1331 of Title 28 of the United States Code providing jurisdiction to hear cases

arising under the laws and Constitution of the United States, and pursuant to

1
 “DE” refers to the district court Docket Entry for No. 1:20-cv-23218-DPG; the
Docket Entry number follows the colon.


                                          1
USCA11 Case: 22-10319           Document: 26    Date Filed: 04/22/2022   Page: 14 of 71



Section 1343(3) of Title 28 of the United States Code, to redress the deprivation

under color of state law of any right, privilege or immunity secured by the

Constitution, and pursuant to Section 1343(4) of Title 42 of the United States

Code, to secure equitable or other relief for the protection of civil rights.

         On September 28, 2021, the district court issued a non-final order, as

relevant here dismissing, Counts I and II of Plaintiff-Appellants’ Amended

Complaint without prejudice, while retaining supplemental jurisdiction over the

related state-law claim raised in Count V of the Amended Complaint. See DE:32

at 15.

         On October 12, 2021, Defendant-Appellees filed a motion to dismiss the

remaining count. See DE:34.

         On December 29, 2021, the district court issued its final order, granting the

motion, declining to continue exercising supplemental jurisdiction over the sole

remaining state-law claim, dismissing that claim, and closing the case. See DE:45

at 1, 5. The district court’s December 29, 2021 Order was a final order disposing

of all claims of all parties.

         On January 28, 2022, Plaintiff-Appellants, Zen and Otamendi, filed a timely

Notice of Appeal. This Court has jurisdiction over this appeal of the final order of

the United States District Court for the Southern District of Florida pursuant to

Section 1291 of Title 28 of the United States Code.



                                            2
 USCA11 Case: 22-10319      Document: 26      Date Filed: 04/22/2022    Page: 15 of 71



                        STATEMENT OF THE ISSUES

I.    Whether the district court erred in dismissing Plaintiffs-Appellants’ Section

      1983 claim grounded in the Fourteenth Amendment set out in Count I of the

      AC by: (1) failing to consider Zen’s and Otamendi’s allegation they had a

      constitutionally-protected property right in the money (over $276,000)

      AHCA sought to take from them by fine, and (2) failing to address

      controlling Due Process Clause law prohibiting government officials from

      retaliating against individuals for exercise of statutory or constitutional

      rights, and the unconstitutional conditions doctrine.

II.   Whether the district court erred in dismissing Plaintiffs-Appellants’ Section

      1983 claim grounded in the First Amendment set out in Count II of the AC

      by: (1) erroneously extending the public concern test to the Petition Clause

      claim of a Medicaid contractor that petitioned for an administrative hearing

      to challenge an Agency overpayment in excess of $1.6 million (including a

      fine of over $276,000), and (2) erroneously concluding Zen and Otamendi

      did not speak and petition on a matter of public concern by failing to

      conduct the required fact-specific analysis.




                                          3
USCA11 Case: 22-10319       Document: 26      Date Filed: 04/22/2022   Page: 16 of 71



                         STATEMENT OF THE CASE

      This case arises from the unlawful and unconstitutional conduct of

Defendant-Appellee Bennett, who, in January 2020, acting in her capacity

AHCA’s MPI Chief, issued a debilitating and ultra-virus suspension of Medicaid

payments to Zen and made an unfounded fraud referral against Zen to Florida law

enforcement in retaliation for Zen exercising its right to an administrative hearing

to challenge AHCA’s 2019 FAR that demanded Zen pay the Agency more than

$1.6 million (over $276,000 of which was a fine), and for criticizing AHCA in the

process.

      As alleged in Counts I and II of the AC, respectively, Defendants-Appellees’

conduct violated (1) Zen’s and Otamendi’s Fourteenth Amendment due process

rights, and (2) their First Amendment speech and petition rights.

      The relevant background and facts are set out in the AC.

      In February 2019, as part of its “effort to cover up its ineptitude in

implementing and administering the Behavior Analysis services program, and

attempt to restore its budget,” DE:17 at 2 (¶2), AHCA issued to Zen a FAR (1)

demanding Zen repay $1,367,839.74 in Medicaid payments for services

provided from November 1, 2017 to September 30, 2018, and (2) seeking to

impose on Zen a fine in the amount of $276,067.95. Id. at 36 (¶121); DE:17-1

at 1-4.



                                          4
USCA11 Case: 22-10319       Document: 26        Date Filed: 04/22/2022   Page: 17 of 71



      More specifically, the Agency FAR alleged Zen had been overpaid and was

subject to fines because “28 Zen Group providers who were employed as Behavior

Assistants – the lowest category within the field of Behavior Analysis (‘BA’)

services – were not qualified” under the two-year experience requirement to

provide reimburseable services to Medicaid recipients. See DE:17-2 at 1. AHCA’s

FAR did not allege Zen billed for services that were not rendered, or provided

services that were unnecessary or unreasonable. Id. at 2-3.

      Knowing it had always acted “lawfully and appropriately in providing

important services to children requiring behavioral services,”, and firmly believing

AHCA’s overpayment demand was “based on newly-created retroactively-applied

provider qualifications imposing myriad requirements not included in the duly

adopted Agency rules or the coverage policies incorporated therein,” “Zen Group

refused to capitulate.” DE:17 at (¶¶2-3).

      Instead, in March 2019, Zen exercised its rights guaranteed by the

Fourteenth Amendment Due Process Clause, the First Amendment Petition

Clause, and clear Florida statutory and constitutional law, and filed a Petition For

Formal Hearing in the State of Florida Division of Administrative Hearings

(“DOAH”) to challenge AHCA’s FAR allegations, repayment demand of over

$1.3 million in Medicaid payments, and proposed fine of over $276,000. See

DE:17 at 9-10 (¶¶26-27); see id. at 34-35 (¶117) (citing clear Florida law



                                            5
USCA11 Case: 22-10319      Document: 26      Date Filed: 04/22/2022   Page: 18 of 71



affording Medicaid providers myriad due process protections before AHCA can

recoup Medicaid payments or impose “penal in nature” fines, specifically

Sections 120.569, 120.57, 120.68(1) of the Florida Statutes); id. at 36 (¶121)

(citing Dep’t of Banking & Fin., Div. of Sec. & Inv’r Prot. v. Osborne Stern &

Co., 670 So. 2d 932, 935 (Fla. 1996) (holding administrative fines are “penal in

nature,” and cannot be imposed unless Agency proves its allegations by the

higher standard of clear and convincing evidence).

      On October 15, 2019, during the course of administrative proceedings in

DOAH, Zen served on AHCA a Motion for Sanctions, in which “Zen Group laid

bare its scathing criticism of the Agency’s Behavior Analysis service program

implementation and administration, and the Agency’s improper and unlawful

attempts [to] claw-back money through non-rule policies created in an ad hoc,

arbitrary and capricious manner.” DE:17 at 10-11 (¶¶30-31).

      Shortly after receiving Zen’s sanctions motion, on October 30, 2019, the

Agency agreed to settle its FAR allegations on terms extremely favorable to Zen,

including: “(1) the Agency would be permitted to retain approximately $70,000 of

the money AHCA had withheld from Zen Group (as Zen Group stated, ‘only to

avoid continued litigation costs’) and AHCA would pay back to Zen Group over

$665,000, (2) the money retained by the Agency would not be characterized as ‘an

overpayment,’ and (3) the Agency would remove any fines or sanctions, as Zen



                                         6
USCA11 Case: 22-10319       Document: 26      Date Filed: 04/22/2022   Page: 19 of 71



Group maintained it had at all times acted lawfully and had not engaged in any

sanctionable conduct.” Id. (¶125); see id. at 38 (¶¶126-127).

      “On January 9, 2020, the Agency paid to Zen Group the amount due

under the Settlement Agreement. See Two Checks from State of Florida to Zen

Group totaling $666,980.70. See Exhibit D.” Id. (¶129) (emphasis added).

      “The day after the Agency paid Zen Group the nearly $667,000 it owed Zen

Group under the settlement agreement – the very next day – AHCA’s Kelly A.

Bennett, who was at the center of the administrative proceedings on the Agency’s

overpayment demand, embarked on a course of conduct to retaliate against Zen

Group and to put Zen Group out of business.” Id. at 3 (¶5). Specifically, as alleged

in the AC, Bennett – in the absence of a credible allegation of fraud, in violation of

federal regulations, and based on nothing but pretext and retaliatory animus, and in

bad faith – issued a fraud referral regarding Zen to the Medicaid Fraud Control

Unit of the Florida Attorney General’s Office (“MFCU”) and indefinitely

suspended Zen from receiving Medicaid payments (for all outstanding and future

claims) purportedly pursuant to 42 C.F.R. § 455.23. Id. at 5-6 (¶12), 40 (¶140), 41

(¶142) 42 (¶148), 43 (¶150). MFCU almost immediately recognized the fraud

referral was unfounded, and ultimately closed-out the case, but by then the

accompanying illegal payment suspension had caused significant harm to Zen and

Otamendi. Id. at 17-30



                                          7
USCA11 Case: 22-10319       Document: 26      Date Filed: 04/22/2022   Page: 20 of 71



      With regard to Count I, the AC alleges the payment suspension and

unfounded fraud referral to MFCU were in “retaliation for Zen Group exercising

its Fourteenth Amendment due process right to seek review before an impartial

administrative law judge of AHCA’s overpayment demand and attempt to impose

‘penal in nature’ administrative fines on Zen,” id. at 38-39 (¶131), that such

“retaliatory conduct would deter a similarly situated individual of ordinary

firmness from exercising his or her constitutional rights to due process,” id. at 40

(¶138), that the retaliatory conduct was the proximate cause of significant damage

to Zen, id. at 40-41 (¶¶140-143).

      Similarly, with regard to Count II, the AC alleges, “Zen Group exercised

its First Amendment right to petition the government for redress when it sought

administrative review of AHCA’s overpayment demand in the FAR,” and that

“Zen Group exercised its First Amendment right to free speech and to criticize

the government when it served upon AHCA a motion for sanctions criticizing the

Agency for its botched implementation of the Behavior Analysis Services

program, and its attempt to impose arbitrary, capricious, and unfair post-hoc non-

rule policies on Zen Group and other providers,” a matter of public concern, id.

at 42 (¶¶145-147), that “Defendant Bennett suspended Medicaid payments to Zen

Group without a true and proper verified credible allegation of fraud because of,

and in retaliation for, Zen Group exercising its First Amendment rights to free



                                          8
USCA11 Case: 22-10319        Document: 26      Date Filed: 04/22/2022   Page: 21 of 71



speech and to criticize the government (namely Defendant Bennett and the

Agency) and for Zen Group’s exercise of its First Amendment right to petition

the government for redress,” id. 143 (¶151), that Defendants-Appellees’

retaliatory conduct damaged Zen in myriad ways, and would likely deter a person

of ordinary firmness from the exercise of First Amendment rights.” id. at 43-44

(¶¶151-155).

      Defendants-Appellees filed a motion to dismiss the AC, which, as relevant

here, the district court granted as to Counts I and II. The district court dismissed

Count I for failure to state a claim based on its conclusion that Zen and Otamendi

had no constitutionally-protected property interest in the Medicaid payments

AHCA sought to recoup in its FAR, thus Defendants-Appellees retaliating against

Zen and Otamendi for exercising their due process rights to challenge the FAR was

not actionable under Section 1983.

      The district court dismissed Count II for failure to state a claim based on its

conclusion that Zen was not speaking as a private citizen on a matter of public

concern when it petitioned for administrative review in DOAH to challenge the

Agency’s FAR, thus such conduct was not protected by the First Amendment and

Defendants-Appellees retaliating against Zen and Otamendi for exercising their

petition rights to challenge the FAR was not actionable under Section 1983.

      The appeal follows.



                                           9
USCA11 Case: 22-10319          Document: 26         Date Filed: 04/22/2022   Page: 22 of 71



       The district court’s order dismissing Counts I and II for failure to state a

claim is reviewed de novo. Echols v. Lawton, 913 F.3d 1313, 1319 (11th Cir.

2019). All factual allegations in the AC must be accepted as true and construed in

the light most favorable to Zen and Otamendi. Id. To survive a motion to dismiss, a

complaint must contain sufficient factual matter, accepted as true, to state a claim

to relief that is plausible on its face. Id.

                         SUMMARY OF THE ARGUMENT

I.     The District Court Erred In Dismissing Count I Of The AC

       Count I of the AC States a Section 1983 claim under the Fourteenth

Amendment and the unconstitutional conditions doctrine, and the district court

erred in dismissing it based on its erroneous conclusion that Zen and Otamendi had

no constitutionally-protected property interest in the more than $1.3 million in

Medicaid payments AHCA sought to recoup in its 2019 FAR.

       First and most fundamentally the district court erred by ignoring the AC’s

clear allegations that, in addition to seeking repayment of more than $1.3 million in

Medicaid payments, AHCA’s 2019 FAR was attempting to impose “penal in

nature” fines against Zen and Otamendi, and thereby deprive them of more than

$276,000 of their own money, to which they had an incontrovertible

constitutionally-protected property interest.




                                               10
USCA11 Case: 22-10319        Document: 26       Date Filed: 04/22/2022   Page: 23 of 71



      Because Zen and Otamendi had a constitutionally-protected property interest

in their money the Agency sought to deprive them of by fine, they had clear due

process rights — largely described by Florida statutes guaranteeing an

administrative hearing – to contest the Agency’s allegations, and the Fourteenth

Amendment prohibited Defendants-Appellees from retaliating against Zen and

Otamendi for exercising their due process rights.

      Second, the district court erred by failing to address clear controlling law

establishing that the Due Process Clause prohibits a state actor from retaliating

against a party for exercising rights guaranteed by statute or the Constitution. See

United States v. Goodwin, 457 U.S. 368, 372–74 (1982) (“To punish a person

because he has done what the law plainly allows him to do is a due process

violation of the most basic sort.”); id. (“an individual . . . certainly may not be

punished for exercising a protected statutory or constitutional right.”).

      The AC alleges in detail the statutes that guaranteed Zen’s right to challenge

the FAR’s allegations and payment demands – both the $1.3 million-plus in

alleged overpayments and the $276,000-plus in proposed fines – through

administrative procedures culminating in a hearing in DOAH. See DE:17 at 35-37.

Zen and Otamendi further alleged they exercised their statutory and constitutional

rights to the administrative process, largely prevailed in that process, and then

Defendant Bennett and others at AHCA retaliated against them for their exercise of



                                           11
USCA11 Case: 22-10319        Document: 26      Date Filed: 04/22/2022   Page: 24 of 71



the statutorily- and constitutionally-guaranteed rights to challenge AHCA’s FAR

through the administrative process. Id. at 37-41.

      Consequently, Zen and Otamendi alleged a Section 1983 claim based on

Defendants-Appellees’ violation of their Fourteenth Amendment right to be free

from retaliation for exercising clear statutory and constitutional rights.

      Third, the district court erred in dismissing Count I by failing to address

controlling law demonstrating Defendants-Appellees’ alleged conduct violated the

clearly established unconstitutional conditions doctrine. “[T]he unconstitutional

conditions doctrine . . . vindicates the Constitution’s enumerated rights by

preventing the government from coercing people into giving them up.” Koontz v.

St. Johns River Water Mgmt. Dist., 570 U.S. 595, 604 (2013) (the Court has “said

in a variety of contexts that the government may not deny a benefit to a person

because he exercises a constitutional right.”).

      That is precisely what Zen and Otamendi alleged Defendants-Appellees did.

The AC alleges Defendants-Appellees’ retaliatory conduct of making an

unfounded fraud referral to MFCU and suspending indefinitely Zen’s Medicaid

payments – conduct that would deter a similarly situated individual of ordinary

firmness from exercising her due process rights – placed an unconstitutional

condition on the exercise of Zen’s and Otamendi’s due process right to

administrative review of AHCA’s 2019 FAR. See DE:17 at 34-41 (¶¶116-43).



                                          12
USCA11 Case: 22-10319        Document: 26      Date Filed: 04/22/2022   Page: 25 of 71



      Because, “[t]he doctrine prevents the Government from using conditions to

produce a result which it could not command directly,” Oil States Energy Servs.,

LLC v. Greene’s Energy Grp., LLC, 138 S. Ct. 1365, 1377 n.4 (2018), and because

there can be no serious argument Defendants-Appellees could have prohibited Zen

from availing itself of the statutorily- and constitutionally-guaranteed right to

administrative review of AHCA’s FAR, Count I successfully alleges Defendants-

Appellees placed unconstitutional conditions Zen’s and Otamendi’s exercise of

their Fourteenth Amendment rights.

II.   The District Court Erred In Dismissing Count II Of The AC

      In Count II of the AC alleges Defendants-Appellees violated Zen’s and

Otamendi’s First Amendment rights to petition the government for redress and to

free speech when Defendants-Appellees retaliated against them because Zen and

Otamendi filed a Petition For Hearing seeking an administrative hearing to

challenge AHCA’s 2019 FAR and because Zen and Otamendi harshly criticized

AHCA in a sanctions motion.

      The district court dismissed Count II based on its erroneous conclusion that

Zen was not speaking as a private citizen on a matter of public concern when it

petitioned for administrative review to challenge the Agency’s FAR, thus such

conduct was not protected by the First Amendment.




                                          13
USCA11 Case: 22-10319        Document: 26     Date Filed: 04/22/2022   Page: 26 of 71



      First, the district court erred by extending the “public concern test” to this

case, involving a Medicaid contractor’s Petition Clause claim. While the Court

has applied the balancing test announced in Pickering v. Bd. of Ed. of Twnp. High

Sch. Dist., 391 U.S. 563 (1968), and the “public concern test” to a Section 1983

claim brought by a public employee grounded in the Petition Clause, see Duryea,

Pa. v. Guarnieri, 564 U.S. 379, 383 (2011), and extended the “public concern

test” to a Speech Clause case brought by an independent contractor, Bd. of Cty.

Comm’rs, Wabaunsee Cty., Kan. v. Umbehr, 518 U.S. 668, 685 (1996), the public

concern test has never been extended to government contractors raising First

Amendment Petition Clause claims; and the Court has indicated it would be

inappropriate to do so, see Guarnieri, 564 U.S. at 394 (“Outside the public

employment context, constitutional protection for petitions does not necessarily

turn on whether those petitions relate to a matter of public concern.”)

(emphasis added).

      The district court erred in extending the public concern test to this case,

where Zen, a Medicaid contractor, and its owner Otamendi, alleged Defendants-

Appellees retaliated against them for exercising their First Amendment Petition

Clause right to challenge AHCA’s FAR. In the absence of the erroneously applied

public concern test, there can be no question Count II states a Section 1983 claim

under the Petition Clause.



                                         14
USCA11 Case: 22-10319        Document: 26       Date Filed: 04/22/2022   Page: 27 of 71



      Second, even were the public concern test to be extended to the

circumstances of this case, the district court erred in applying it by failing to

engage the required fact-specific examination of “the content, form, and context”

of Zen’s and Otamendi’s alleged First Amendment speech and petition activity.

See Connick v. Myers, 461 U.S. 138, 147-48 (1983).

      Applying the proper standard, Plaintiffs-Appellants’ alleged First

Amendment activity demonstrates they were petitioning and speaking as citizens

on a matter of public concern. Zen’s Petition For Hearing sought an administrative

hearing in DOAH, a public forum, and alleged the Agency FAR was based on a

larger effort to enforce a non-rule policy on Medicaid providers of Behavior

Analysis (“BA”) services, in violation of Florida law. Zen’s petition and its

associated sanctions motion sought to invalidate the Agency’s non-rule policy in a

way that would have applied generally to all other BA services providers, thus

implicated hundreds of millions dollars in state Medicaid expenditures, a matter of

public concern that garnered media coverage. Finally, Zen’s sanction motion,

served on AHCA during administrative proceedings, beyond addressing Zen

providers, laid bare the disarray in AHCA’s BA program and roundly criticized

AHCA’s administration and employees generally.

      As such, Zen’s 2019 petition and speech activity was protected by the First

Amendment, Defendants-Appellees violated Zen’s and Otamendi’s First



                                           15
USCA11 Case: 22-10319         Document: 26     Date Filed: 04/22/2022   Page: 28 of 71



Amendment rights by retaliating against them, Count II stated a claim for relief

under Section 1983, and the district court erred in dismissing it.

              ARGUMENT AND CITATIONS OF AUTHORITY

I.    Count I of The AC States A Section 1983 Claim Under The Fourteenth
      Amendment, And The District Court Erred In Dismissing Count I

      The district court erred in concluding Zen and Otamendi failed to state a

claim in Count I of the AC.

      Most basically Count I alleges AHCA MPI Chief Kelly Bennett and other

defendants violated Section 1983 by depriving Zen and Otamendi of their

Fourteenth Amendment rights when, in January 2020, Bennett issued against Zen

an unfounded and illegal suspension of Medicaid payments and baseless fraud

referral in retaliation for Zen’s 2019 exercise of it clearly established due process

rights to an administrative hearing to challenge a AHCA’s overpayment demand

that included an effort to recoup over $1.3 million in Medicaid payments and to

impose a fine of over $276,000.

      More specifically, the AC alleges:

      • In February 2019, AHCA issued an FAR against Zen (1) demanding Zen

repay $1,368,334.74 in Medicaid payments Zen had received for services

provided, and (2) seeking to impose a fine on Zen in the amount of $276,067.95.

DE:17 at 36 (¶121); see also DE:17-1 at 1-4. The FAR describes itself as “a

probable cause determination by the Agency.” Id. at 4.

                                          16
USCA11 Case: 22-10319       Document: 26      Date Filed: 04/22/2022   Page: 29 of 71



      • Clear Florida law describe the process due before AHCA can recoup

moneys previously paid to a Medicaid provider and impose fines a Medicaid

provider. Specifically, Sections 120.569, 120.57 120.68(1) of the Florida Statutes

provide myriad due process protections, including, inter alia, the right to a hearing

before an impartial administrative law judge at which the agency bears the burden

of proof, and the right to judicial review of the agency’s final order. See DE:17 at

34-35. Further, because AHCA’s 2019 FAR sought to impose upon Zen a fine,

defined by the Florida Supreme Court as “penal in nature,” AHCA was required to

prove its allegations in an administrative hearing by a higher standard of proof,

affording Zen greater due process protections. See DE:17 at 36 (¶121) (citing

Osborne, 670 So.2d at 935). See also DE:17 at 36-37 (¶¶122-123).

      • Zen and its owner Otamendi invoked their statutory and constitutional

due process rights to an administrative hearing to challenge AHCA’s allegations

and its attempt to recoup Medicaid reimbursements and to impose a fine on Zen.

See id. at 37(¶¶123-124). Administrative proceedings ended in settlement on

extremely favorable terms to Zen, including: “(1) the Agency would be permitted

to retain approximately $70,000 of the money AHCA had withheld from Zen

Group (as Zen Group stated, ‘only to avoid continued litigation costs’) and

AHCA would pay back to Zen Group over $665,000, (2) the money retained by

the Agency would not be characterized as ‘an overpayment,’ and (3) the Agency



                                         17
USCA11 Case: 22-10319       Document: 26      Date Filed: 04/22/2022   Page: 30 of 71



would remove any fines or sanctions, as Zen Group maintained it had at all times

acted lawfully and had not engaged in any sanctionable conduct.” Id. (¶125); id.

at 38 (¶¶126-127).

      • The very day after AHCA paid to Zen Group $666,980.70 pursuant to the

settlement agreement, Bennett and AHCA “suspended Medicaid payments to

Zen Group purportedly ‘pursuant to 42 C.F.R. §455.23.’” DE:17 at 38 (¶¶129-

130) (emphasis added).

      • The payment suspension and unfounded fraud referral to MFCU were in

“retaliation for Zen Group exercising its Fourteenth Amendment due process right

to seek review before an impartial administrative law judge of AHCA’s

overpayment demand and attempt to impose ‘penal in nature’ administrative fines

on Zen Group,” id. at 38-39 (¶131), and such “retaliatory conduct would deter a

similarly situated individual of ordinary firmness from exercising his or her

constitutional rights to due process,” id. at 40 (¶138), and was the proximate cause

of significant damage to Zen, id. at 40-41 (¶¶140-143).

      Instead of addressing the allegations in the AC and the specific theories of

constitutional injury alleged by Zen and Otamendi, the district court misconstrued

some of Plaintiffs-Appellants’ allegations, ignored others, and focused its analysis

on an claim not raised by Count I.




                                         18
USCA11 Case: 22-10319        Document: 26      Date Filed: 04/22/2022   Page: 31 of 71



      En route to dismissing Count I, the district court began by stating: “In Count

I, Plaintiffs allege that Defendants sought to deprive them of their liberty and

property in violation of the Fourteenth Amendment when the Agency imposed the

Demand [defined at DE:32 at 2, as the $1,644,402.69 payment demand –

comprising alleged Medicaid payments and fines – as set out in the Agency’s

February 14, 2019 FAR].” DE:32 at 9 (emphasis added). This is a misstatement of

Count I’s allegations, the constitutional injury alleged there, and Plaintiffs-

Appellants’ argument in response to the motion to dismiss. Zen and Otamendi have

never questioned AHCA’s right to seek recoupment of Medicaid payments in

2019, through the administrative process established by Florida state law. Instead,

the AC alleges that once AHCA issued the FAR (1) demanding repayment of

Medicaid payments and (2) attempting to impose fines on Zen for alleged fraud,

the U.S. Constitution and Florida state laws provided to Zen and its owner

Otamendi a full panoply of due process rights. See DE:17 at 34-37 (¶¶117-123); id.

at 8-14. As the allegations in the AC explain, Zen was provided the process it was

due to challenge the allegations made by the Agency in its FAR. It was not until

after that process was complete, Zen was vindicated, and the Agency was forced to

repay almost $700,000 in previously withheld funds, that Bennett and others at

AHCA violated Zen’s and Otamendi’s constitutional rights to due process

guaranteed by the Fourteenth Amendment. See id. at 38-41, 2-3, 14-15.



                                          19
USCA11 Case: 22-10319        Document: 26       Date Filed: 04/22/2022   Page: 32 of 71



       Because the district court misread or misconstrued Plaintiffs’ allegations and

theories of Section 1983 liability – and because the district court ignored the

crucial allegations that the Agency’s efforts to impose quasi-penal fines on Zen

implicated its constitutional liberty and property interests – the district court

devoted the entirety of its scant two-page discussion of Count I to a peripheral

issue, failed to engage the central issue presented here, and erroneously dismissed

Count I.

       Specifically, because the district court misunderstood Count I to “allege that

Defendants sought to deprive [Zen and Otamendi] of their liberty and property in

violation of the Fourteenth Amendment when the Agency imposed the Demand,”

DE:32 at 9 (emphasis added), the district court focused its analysis on whether the

AC alleged “a deprivation of a constitutionally protected property interest,” id.,

and erroneously dismissed Count I by concluding, “[t]his Court is unaware of

binding Eleventh Circuit precedent on the issue of whether a healthcare provider

has a constitutionally[] protected property interest in [Medicaid] payments that

may be subject to recoupment action,” id. at 10 (quotation marks omitted; brackets

in original).

       The district court erred in two fundamental ways. First, accepting arguendo

the district court’s characterization of the elements to state a claim in Count I, the

district court erred by ignoring the AC’s clear allegations that AHCA, through its



                                           20
USCA11 Case: 22-10319        Document: 26       Date Filed: 04/22/2022    Page: 33 of 71



2019 FAR, was attempting to impose “penal in nature” fines on Zen and Otamendi,

and thereby deprive them of their own money, to which they had an

incontrovertible “constitutionally[] protected property interest.” Second, the

district court erred by failing to address Zen’s and Otamendi’s theories of Section

1983 liability under the Fourteenth Amendment, specifically the clear allegation

that Defendants-Appellees took adverse action against Zen and Otamendi in

retaliation for exercising their clear statutory and constitutional rights, and that

Defendants-Appellees imposed upon Zen and Otamendi an unconstitutional

condition on the exercise of their statutory and constitutional rights.

      A.     Zen and Otamendi Had A Clear, Incontrovertible
             Constitutionally-Protected Interest In The Property AHCA
             Sought To Deprive Them Of By Way Of A Fine In AHCA’s 2019
             FAR, Thus Even Accepting The District Court’s Flawed Legal
             Framework, The District Court Erred In Dismissing Count I

      As discussed, the AC alleges unambiguously that in February 2019 AHCA

sought to recoup over $1.3 million in Medicaid payments made to Zen (for

services provided in 2017 and 2018) and sought to fine Zen more than $276,000;

Zen and Otamendi exercised their statutory and constitutional right to an

administrative hearing in DOAH to challenge AHCA’s FAR; Zen largely prevailed

in the administrative process; then, in 2020 Bennett and other Defendants retaliated

against Zen and Otamendi for exercising their clear Fourteenth Amendment rights

to an administrative hearing by issuing an unfounded and unlawful fraud referral



                                           21
USCA11 Case: 22-10319        Document: 26      Date Filed: 04/22/2022   Page: 34 of 71



and suspending indefinitely Zen’s future Medicaid payments; and, such retaliatory

conduct damaged Zen and Otamendi and would have deterred a similarly situated

individual of ordinary firmness from exercising his or her constitutional rights to

due process, DE:17 at 40 (¶138).

      The district court’s most basic error inheres in its complete failure to

address Zen’s and Otamendi’s contention that they had a clearly established

liberty and property right to be free from the FAR’s “penal in nature” fine of

more than $276,000 without due process of law. Assuming arguendo the $1.3

million in Medicaid payments to Zen were contingent payments in which Zen

Group had no property interest, as the district court concluded, 2 the allegations in



2
  In fact, the district court erred in concluding Zen lacked a property interest in the
Medicaid payments AHCA sought to recoup through it 2019 FAR to the extent
such payments were proper. See Ron Grp., LLC v. Azar, No. 2:20-CV-1038-ECM,
2021 WL 5576616, at *3–5 (M.D. Ala. Nov. 29, 2021) (applying controlling
Eleventh Circuit and Supreme Court law and concluding a Medicaid provider “has
a protected property interest in receiving full reimbursements for clean claims for
services rendered to Medicaid patients”). As discussed there, “[P]roperty interests
subject to procedural due process protection are not limited by a few rigid,
technical forms. Rather, property denotes a broad range of interests that are
secured by existing rules or understandings.” Barnes v. Zaccari, 669 F.3d 1295,
1303 (11th Cir. 2012) (alteration in original) (quoting Perry v. Sindermann, 408
U.S. 593, 601 (1972)). Thus, a party may have a protected property interest in a
government benefit when the party has “a legitimate claim of entitlement to it”
based on “an independent source such as state law.” Bd. of Regents of State Colls.
v. Roth, 408 U.S. 564, 577 (1972). Here, Florida laws and regulations require the
AHCA to pay valid claims for Medicaid services. Under the Non-Institutional
Medicaid Provider Agreement AHCA entered into with Zen, one of the Agency’s
only responsibilities is “to make timely payment at the established rate for services

                                          22
USCA11 Case: 22-10319       Document: 26        Date Filed: 04/22/2022   Page: 35 of 71



the AC (and controlling law) leave no question that the fine the Agency attempted

to impose on Zen and Otamendi was separate and apart from any Medicaid

moneys paid to them. See § 409.913(1)(e), Fla. Stat. (2019) (“‘Overpayment’

includes any amount that is not authorized to be paid by the Medicaid program

whether paid as a result of inaccurate or improper cost reporting, improper

claiming, unacceptable practices, fraud, abuse, or mistake.”); F.A.C. § 59G-

9.070(2)(f) (“‘Fine’ is a monetary sanction.”); F.A.C. § 59G-9.070(7)

(“Sanctions. In addition to the recoupment of the overpayment, if any, the

Agency will impose sanctions as outlined in this subsection.”) (emphasis added);

§ 409.913(12), Fla. Stat. (2019) (treating distinctly “repayment of any

overpayment” and “impos[ition] an administrative sanction,” defined elsewhere

as a “fine”).

      Moreover, that more-than-a-quarter-million-dollar fine the Agency

attempted to impose through the 2019 FAR was to be paid by nothing other than

Zen’s and Otamendi’s cash money, to which no one can question they had a

constitutionally-protected property interest.

      Were it not self-evident that the Agency’s attempt to impose fines squarely

implicated Zen’s and Otamendi’s fundamental property rights, the Florida

Supreme Court has stated unequivocally:

or goods furnished to a recipient by the provider upon receipt of a properly
completed claim form.” § 409.907(5)(a), Fla. Stat. (2019).

                                          23
USCA11 Case: 22-10319       Document: 26      Date Filed: 04/22/2022   Page: 36 of 71



      an administrative fine deprives the person fined of substantial rights in
      property. Administrative fines, like the ones imposed upon
      respondents in this case, are generally punitive in nature . . . [T]he
      imposition of administrative fines . . . are penal in nature and
      implicate significant property rights . . .

Osborne, 670 So. 2d at 935 (addressing a $20,000 fine).

      Consequently, Zen and Otamendi had a clear and incontrovertible

Fourteenth Amendment due process right to the procedures guaranteed by

Florida statutes and law before they could be deprived of such moneys by

Agency fine. The district court – far from taking as true all allegations in the AC

and drawing all reasonable inferences in favor of Plaintiffs-Appellants – simply

ignored Zen’s and Otamendi’s allegations regarding the significant fines the

Agency attempted to impose and focused exclusively on the recoupment of

Medicaid payments.

      Considering and accepting all the AC’s allegations, Zen and Otamendi

alleged Defendant Bennett and others retaliated against them for exercising their

clear Fourteenth Amendment due process right to an administrative hearing prior

to being deprived of their property ($276,067.95). Thus, even if this Court were to

conclude the district court framed the Count I elements correctly, and Zen and

Otamendi were required to allege a they had a constitutionally-protected interest in

the property AHCA sought to deprive them of through the 2019 FAR, the district

court erred in dismissing Count I. Irrespective of this Court’s view of Zen’s



                                         24
USCA11 Case: 22-10319          Document: 26      Date Filed: 04/22/2022   Page: 37 of 71



property interest in the $1.3 million in Medicaid payments to Zen AHCA sought to

recoup, there is no doubt Plaintiffs-Appellants had a constitutionally-protected

property interest in the more than $276,000 AHCA sought to take from them by

way of a fine.

         Consequently, accepting the district court framework, Count I stated a

claim under Section 1983, was dismissed in error, and must be reinstated by this

Court.

         B.    The District Court Failed To Address The Constitutional Theories
               Of Section 1983 Liability Alleged In The AC, Under Which Zen
               And Otamendi Stated A Claim In Count I

         The district court’s second fundamental error inheres in its failure to address

the constitutional theories of Section 1983 liability alleged in the AC. As

articulated there, and in Zen’ and Otamendi’s opposition to Defendants-Appellees’

motion to dismiss, Count I sets out a Section 1983 claim under the clearly

established Fourteenth Amendment procedural due process retaliation law and the

unconstitutional conditions doctrine.

               1.     Zen And Otamendi Stated A Section 1983 Claim In Count I
                      By Alleging Defendants-Appellees Unlawfully Retaliated
                      Against Them For Exercise Of Their Fourteenth
                      Amendment Procedural Due Process Rights To Challenge
                      AHCA’s 2019 FAR

         While the district court acknowledged Zen and Otamendi “also allege that

Bennett retaliated against Plaintiffs when they exercised their constitutional right



                                            25
USCA11 Case: 22-10319        Document: 26      Date Filed: 04/22/2022   Page: 38 of 71



to challenge the Demand in an administrative hearing,” DE:32 at 9, that court

failed to consider or address the relevant law.

      In their motion to dismiss, Defendants-Appellees’ argued that a Section

1983 claim under the Fourteenth Amendment may not be predicated on

“retaliation” for the exercise of procedural due process rights. See DE:20 at 10.

Defendants based this argument entirely on dicta in a 1995 Eleventh Circuit case.

See id. (citing Ratliff v. DeKalb Cnty., 62 F.3d 338 (11th Cir. 1995)). As

Defendants-Appellees clearly understood, Ratliff involved, not the Due Process

Clause of the Fourteenth Amendment, but the Equal Protection Clause, and in

stating “no established right exists under the equal protection clause to be free from

retaliation,” in Ratliff, this Court ventured no commentary regarding the right

under the Due Process Clause to be free from retaliation.

      That right was clearly recognized and established by the Supreme Court no

later than 1982, and has been consistently respected in the federal courts since.

The Court could not have articulated more clearly the due process right to be free

from retaliation for the exercise of statutory or constitutional rights: “To punish a

person because he has done what the law plainly allows him to do is a due process

violation ‘of the most basic sort.’ Bordenkircher v. Hayes, 434 U.S. 357, 363 . . .

(1978).” United States v. Goodwin, 457 U.S. 368, 372–74 (1982) (explaining “In a

series of cases beginning with North Carolina v. Pearce, 395 U.S. 711 (1969) and



                                          26
USCA11 Case: 22-10319        Document: 26      Date Filed: 04/22/2022   Page: 39 of 71



culminating in Bordenkircher v. Hayes, the Court has recognized this basic—and

itself uncontroversial—principle.”).

      As the Goodwin Court concluded: “For while an individual certainly may

be penalized for violating the law, he just as certainly may not be punished for

exercising a protected statutory or constitutional right.” 457 U.S. at 373; see also

Bordenkircher, 434 U.S. at 363 (“for an agent of the State to pursue a course of

action whose objective is to penalize a person’s reliance on his legal rights is

patently unconstitutional”) (internal quotation marks omitted).

      As this Court reaffirmed last year, citing the Court’s 1978 Bordenkircher

opinion: “The government violates a defendant’s due process rights when it

vindictively seeks to retaliate against him for exercising his legal rights.” United

States v. Schneider, 853 F. App’x 463, 469 (11th Cir. 2021); see also United States

v. Toombs, 748 F. App’x 921, 929 (11th Cir. 2018) (same).

      Consequently, clear, controlling, longstanding Supreme Court and Eleventh

Circuit law establishes that it is “patently unconstitutional” and a clear violation of

the Due Process Clause of the Fourteenth Amendment “of the most basic sort”

when a state official takes adverse action against an individual in retaliation for his

or her exercise of a right guaranteed by statute or the constitution.

      Thus, stated correctly, to state a Section 1983 claim based on retaliation

under the Fourteenth Amendment due process clause, a plaintiff must allege (1) the



                                          27
USCA11 Case: 22-10319        Document: 26       Date Filed: 04/22/2022   Page: 40 of 71



plaintiff exercised a right guaranteed by statute or the Constitution, (2) the

defendant state official took adverse action against the plaintiff (3) in retaliation for

exercise of the right guaranteed by statute or Constitution.

      Here, Zen Group and Otamendi clearly alleged the essential elements of a

Section 1983 claim in Count I of the Amended Complaint.

                    a. Zen and Otamendi alleged they engaged in conduct that is
                       protected by the Constitution or by statute

      Plaintiffs-Appellants alleged that on February 14, 2019, AHCA issued FAR

demanding “Zen Group pay to the Agency $1,644,402.69 – $276,067.95 of which

was for administrative fines . . . defined by the Florida Supreme Court as ‘penal in

nature,’ and thus subject to a higher standard of proof and greater due process

protections.” DE:17 at 36 (¶121) (citing Osborne, 670 So. 2d at 935 (requiring

agencies to prove allegations in support of administrative fines by clear and

convincing evidence)).

      The FAR itself makes clear it is in the nature of a charging document, like

an indictment or an administrative complaint. See DE:17-1. “As such,” Plaintiffs-

Appellants alleged, “the FAR provided the legally-required notice . . . that Zen

Group had a due process right to contest the Agency’s proposed deprivation of

property and liberty via an administrative hearing in the Florida Department of

Administrative Hearings.” DE:17 at 36-37 (¶122); DE:17-1 at 5.




                                           28
USCA11 Case: 22-10319        Document: 26       Date Filed: 04/22/2022   Page: 41 of 71



      As alleged in the AC, Zen and its owner Otamendi had clear statutory and

constitutional rights to avail themselves of a disputed-fact hearing in DOAH before

an impartial administrative law judge. This statutory right to a hearing applied to

both AHCA’s efforts to recoup Medicaid payments and AHCA’s effort to impose

a fine on Zen. See Perry v. Sindermann, 408 U.S. 593, 601 (1972) (“A person’s

interest in a benefit is a ‘property’ interest for due process purposes if there are

such rules or mutually explicit understandings that support his claim of entitlement

to the benefit and that he may invoke at a hearing.”).

      Plaintiffs-Appellants further alleged they availed themselves of the statutory

and constitutional right to put AHCA to its burden of proof and to contest AHCA’s

allegations before an impartial tribunal in DOAH. See DE:17 at 37 (¶123) (“Zen

Group vehemently opposed the Agency’s assertions, . . . and . . . exercised its

constitutionally-protected right to due process by filing a Petition For Formal

Hearing seeking administrative review pursuant to Sections 120.569 and 120.57 of

the Florida Statutes”).

                    b. Zen and Otamendi alleged Bennett and other Defendants
                       took adverse action against them because they engaged in
                       the protected conduct

      Zen and Otamendi alleged Bennett and other defendants took adverse action

against them in retaliation for their exercise of the statutorily- and constitutionally-

created rights to challenge AHCA’s FAR allegations. Specifically, Plaintiffs-



                                           29
USCA11 Case: 22-10319        Document: 26       Date Filed: 04/22/2022   Page: 42 of 71



Appellants alleged the administrative case settled on favorable terms for Zen, see

DE:17 at 37 (¶125), and that the next day after the Agency paid to Zen the

$666,980.70 the Agency was required to pay under the settlement agreement, id. at

38 (¶¶128-129), Defendant Bennett, in the name of Defendants Secretary and

AHCA, suspended Medicaid payments to Zen Group purportedly “pursuant to 42

C.F.R. §455.23,” id. (¶130) (emphasis added).

      Zen and Otamendi alleged that “Defendant Bennett issued her payment

suspension and made her related unfounded fraud referral to MFCU regarding Zen

Group in retaliation for Zen Group exercising its Fourteenth Amendment due process

right to seek review in DOAH of AHCA’s overpayment demand and attempt to

impose significant ‘penal in nature’ administrative fines on Zen Group.” Id. at 38-39

(¶131); see also id. at 132-137. Zen and Otamendi alleged further that Bennett’s

retaliatory conduct “caused an adverse effect on Zen Group,” id. at 40 (¶140),

damaged Zen in myriad ways, id. at 41 (¶142), and that “Defendant Bennett’s

retaliatory conduct would deter a similarly situated individual of ordinary firmness

from exercising his or her constitutional rights to due process.” Id. at 40 (¶ 138).

      In sum, Zen and Otamendi alleged all necessary facts to state a Section 1983

based on Defendants-Appellees’ adverse conduct taken in retaliation for Zen’s and

Otamendi’s exercise of their clearly established right to challenge AHCA’s 2019

FAR in violation of the Due Process Clause.



                                           30
USCA11 Case: 22-10319        Document: 26      Date Filed: 04/22/2022   Page: 43 of 71



             2.     Zen And Otamendi Stated A Section 1983 Claim In Count I
                    By Alleging Defendants-Appellees Violated The
                    Unconstitutional Conditions Doctrine Regarding The
                    Exercise Of Their Fourteenth Amendment Due Process
                    Rights

      Relatedly, Zen and Otamendi stated a Section 1983 claim under the Due

Process Clause because the AC alleged Defendants-Appellees engaged in

conduct that violated the clearly established unconstitutional conditions

doctrine.

      The “overarching principle, known as the unconstitutional conditions

doctrine, . . . vindicates the Constitution’s enumerated rights by preventing the

government from coercing people into giving them up.” Koontz v. St. Johns River

Water Mgmt. Dist., 570 U.S. 595, 604 (2013). Under the unconstitutional

conditions doctrine, the Supreme Court has “said in a variety of contexts that the

government may not deny a benefit to a person because he exercises a

constitutional right.” Id. (internal quotation marks omitted).

      Here, that is precisely what Zen and Otamendi have alleged Defendants-

Appellees did. The AC alleges Defendants-Appellees’ after-the-fact retaliatory

conduct – as conduct that would deter a similarly situated individual of ordinary

firmness from exercising his or her constitutional rights to due process – placed an

unconstitutional condition on the exercise of Zen’s and Otamendi’s due process

right to administrative review of AHCA’s overpayment demand. See DE:17 at 34-



                                          31
USCA11 Case: 22-10319          Document: 26    Date Filed: 04/22/2022   Page: 44 of 71



41 (¶¶116-43). As the AC summed it up at paragraph 135, Defendants’ after-the-

fact retaliatory conduct is:

       constitutionally indistinguishable from if Bennett had presented Zen
       with the unconstitutional condition of giving up its due process rights
       to an administrative hearing to contest any over-payment demand or
       administrative fine imposed by AHCA (here over $1.6 million) in
       exchange for Bennett not making an unsupported and false fraud
       referral to MFCU and/or in exchange for Bennett not issuing an
       improper suspension of Zen’s Medicaid payments.

Id. at 39.

       Contrary to Defendants-Appellees’ suggestion below, the unconstitutional

conditions doctrine is not limited to the First Amendment context. As noted, that

doctrine “vindicates the Constitution’s enumerated rights by preventing the

government from coercing people into giving them up,” and has been applied

broadly. See Koontz, 570 U.S. at 604 (noting doctrine applies in “a variety of

contexts,” applying the doctrine in the context of the Fifth Amendment’s Takings

Clause, and discussing Memorial Hospital v. Maricopa County, 415 U.S. 250

(1974), in which the Court applied the unconstitutional conditions to protect the

right to travel); Lebron v. Sec’y, Fla. Dep't of Child. & Fams., 710 F.3d 1202, 1218

(11th Cir. 2013) (applying unconstitutional conditions doctrine in the Fourth

Amendment context and quoting Bourgeois v. Peters, 387 F.3d 1303, 1324, 1325

(11th Cir.2004), as follows: “Our circuit has roundly condemned the use of

unconstitutional conditions . . . [T]he very purpose of the unconstitutional



                                          32
USCA11 Case: 22-10319       Document: 26      Date Filed: 04/22/2022   Page: 45 of 71



conditions doctrine is to prevent the government from subtly pressuring citizens,

whether purposely or inadvertently, into surrendering their rights.”); see also

Planned Parenthood v. Philip, 194 F. Supp. 3d 1213, 1219 (N.D. Fla. 2016)

(noting Supreme “Court described the doctrine in language that leaves no room for

any assertion that the doctrine is limited to the First Amendment”).

      “The doctrine prevents the Government from using conditions to produce a

result which it could not command directly.” Oil States Energy Servs., LLC v.

Greene’s Energy Grp., LLC, 138 S. Ct. 1365, 1377 n.4 (2018); see also Perry v.

Sindermann, 408 U.S. 593, 597 (1972) (noting that officials cannot exact a waiver

of rights as an end-round “to produce a result which it could not command

directly.”) (internal quotation marks omitted).

      Here, there can be no serious argument Bennett could have prohibited Zen

from availing itself of administrative review of AHCA’s FAR, the Agency’s

charging document, which included AHCA’s attempt to recoup over $1.3 million

in Medicaid payments and to impose over $276,000 in fines. Such due process

rights to administrative review of Agency overpayment demands are enshrined in

Florida law and required by the Florida and federal constitutions. See §§ 120.569,

120.57, Fla. Stat. (2019); Zinermon v. Burch, 494 U.S. 113, 132 (1990) (State

required to “provide predeprivation hearing before taking property” if feasible);

Barr v. Johnson, 777 F. App’x 298, 301 (11th Cir. 2019) (same); see also DE:17 at



                                         33
USCA11 Case: 22-10319        Document: 26     Date Filed: 04/22/2022   Page: 46 of 71



34-41(¶¶116-43); Fetner v. City of Roanoke, 813 F.2d 1183, 1186 (11th Cir. 1987)

(“Where . . . a deprivation of property is authorized by an established state

procedure and it is practicable for the State to provide pre-deprivation procedures,

due process has been consistently held to require pre-deprivation notice and a

hearing in order to reduce the possibility of a wrongful deprivation.”); Grayden v.

Rhodes, 345 F.3d 1225, 1236 (11th Cir. 2003) (“there is no doubt in our minds that

the [aggrieved parties] are entitled to a meaningful hearing at some point in time to

contest the [agency] decision”). 3


3
  The constitutional due process right to administrative review of the allegations in
the 2019 FAR – upon which AHCA sought to recoup from Zen over $1.3 million
in Medicaid payments and impose a fine of more than $276,000 – is beyond doubt,
and is confirmed by consideration of the factors articulated in Matthews v.
Eldridge, 424 U.S. 319 (1976) (setting out balancing test).
       As to the first factor, Zen and Otamendi had a substantial private interest in
(1) the more than $1.3 million in Medicaid payments AHCA sought to recoup –
payments Zen Group and Otamendi maintained were valid and earned for
necessary services that were provided, (2) the more than $276,000 AHCA sought
to take by fine, and (3) avoiding the “stigma” of being sanctioned for “fraud or
abuse,” as alleged in the FAR as the basis for the fine, see DE:17-1 at 5.
       As to the second factor, it is beyond dispute that depriving Zen and
Otamendi of the right to challenge the FAR’s allegations – the unconstitutional
condition alleged – carries a serious risk of an erroneous deprivation that would be
greatly mitigated by following the administrative appeal rights provided under
Florida law. This case illustrates the risk concretely. Here, AHCA’s 2019 FAR
alleged Zen was overpaid $1,367,839.74, and that 28 behavior assistants employed
by Zen did not meet the eligibility criteria to provide (and be reimbursed for)
Medicaid services. See Dkt. No. 17-1 at 1-3; DE:17-2 at 2. After Zen denied the
allegations and demanded its rights to the administrative process guaranteed by
Sections 120.569 and 120.57 of the Florida Statutes, AHCA revised its accusations
and informed Zen in October 2019, on the eve of the scheduled hearing, that the
Agency “will proceed to hearing on just two rendering providers.” See DE:17-3 at

                                         34
USCA11 Case: 22-10319       Document: 26      Date Filed: 04/22/2022   Page: 47 of 71



      The unconstitutional conditions doctrine thus prevented Bennett and other

Defendants from conditioning Zen’s exercise of its clear due process rights on

losing a benefit or accepting a burden, even if Zen had no right to the benefit or

right to be free from the burden. See Koontz, 570 U.S. at 608 (“we have repeatedly

rejected the argument that if the government need not confer a benefit at all, it can

withhold the benefit because someone refuses to give up constitutional rights”).

More specifically, the unconstitutional conditions doctrine forbid Defendants-

Appellees from coercing Zen into giving up its right to administrative review of

AHCA’s overpayment demand in exchange for not issuing an unfounded fraud

referral and not suspending Zen’s Medicaid payments – even if Zen had no due


3. Ultimately, AHCA agreed to settle the case for approximately $70,000, a 95
percent reduction, and no fines.
       As to the third Matthews factor, while Florida and AHCA certainly have an
interest in recouping improper Medicaid payments and sanctioning offending
providers, there is no government interest whatever in recouping moneys paid for
legitimate Medicaid claims or sanctioning innocent parties. Further, while Florida
and AHCA might have an interest in avoiding the “administrative burdens” of
affording Medicaid providers a forum to challenge Agency allegations, and
affording such providers the right to discovery, the right to call witnesses and
cross-examine adverse witnesses, the “cost” of an administrative hearing is “hardly
daunting,” Grayden, 345 F.3d at 1236, and no legitimate government interest can
be advanced for denying accused Medicaid providers any process to challenge
Agency accusations, see id. (“[aggrieved parties] are entitled to a meaningful
hearing at some point in time to contest the [agency] decision”).
       In sum, consideration of the Matthews factors demonstrates Zen and
Otamendi were entitled to a hearing process – along the lines detailed by the
Florida State legislature in Sections 120.569 and 120.57 of the Florida Statutes –
and denying them such process, either directly or by the imposition of
unconstitutional conditions – violates the Fourteenth Amendment.

                                         35
USCA11 Case: 22-10319        Document: 26      Date Filed: 04/22/2022   Page: 48 of 71



process right to be free from an unfounded and retaliatory fraud referral to MFCU,

even if Zen had no due process right to challenge a fraud referral, and even if Zen

had no due process property interest in its outstanding Medicaid payments in

January 2020 or to be free from a payment suspension. See Pullman Co. v. State of

Kansas ex rel. Coleman, 216 U.S. 56, 70 (1910) (“The controlling influence of the

Constitution may not be destroyed by doing indirectly that which it prohibits from

being done directly.”).

      Finally, clearly established controlling law establishes that Defendants-

Appellees cannot avoid application of the unconstitutional conditions doctrine

simply because the coercive force they applied on Zen and Otamendi is aptly

called retaliation, because it occurred after Plaintiffs-Appellants’ exercise of their

due process rights by demanding an administrative hearing to contest AHCA’s

FAR allegations. Koontz, 570 U.S. at 607 (“Our unconstitutional conditions cases

have long refused to attach significance to the distinction between conditions

precedent and conditions subsequent.”). Consequently, the fact that Defendant

Bennett exercised her coercive force in 2020, after Zen Group exercised its due

process right to administrative review in 2019 – and in retaliation for it – is of no

constitutional moment here.

      In sum, in Count I of the AC Zen and Otamendi stated a Section 1983 claim

based on the unconstitutional conditions doctrine as it vindicates the guarantees of



                                          36
USCA11 Case: 22-10319        Document: 26      Date Filed: 04/22/2022   Page: 49 of 71



the Due Process Clause of the Fourteenth Amendment, and the district court erred

in dismissing this count.

      C.     Defendants-Appellants Are Not Entitled to Qualified Immunity
             On Count I of the AC

      Because of its erroneous conclusion that Zen and Otamendi failed to state a

claim in Count I, the district court did not address qualified immunity. We do so

here to demonstrate that this doctrine provides no alternative basis upon which to

uphold the district court’s erroneous dismissal of Count I.

      In the light of the clear, unequivocal, and longstanding controlling law

discussed above, Defendants-Appellees are not entitled to qualified immunity on

Count I.

      In determining whether the law was clearly established, a court looks for

“fair warning” to officials that the conduct violates a constitutional right. Gaines v.

Wardynski, 871 F.3d 1203, 1208 (11th Cir. 2017) (citation omitted). There are

three methods to determine fair warning:

      First, the plaintiffs may show that a materially similar case has
      already been decided. Second, the plaintiffs can point to a broader,
      clearly established principle that should control the novel facts of the
      situation. Finally, the conduct involved in the case may so obviously
      violate the constitution that prior case law is unnecessary. Under
      controlling law, the plaintiffs must carry their burden by looking to
      the law as interpreted at the time by the United States Supreme Court,
      the Eleventh Circuit, or the [relevant State Supreme Court].

Id. (internal quotations marks omitted) (emphasis and alteration in original).



                                          37
USCA11 Case: 22-10319        Document: 26      Date Filed: 04/22/2022   Page: 50 of 71



      Here, Zen and Otamendi have demonstrated that clearly established

constitutional law prohibited the conduct Bennett and other Defendants are alleged

to have engaged in by the second, if not the third, method.

      First, with regard to Count I’s allegations that Defendants-Appellees

retaliated against Zen and Otamendi because they exercised their statutorily- and

constitutionally- guaranteed rights to challenge AHCA’s FAR through the

administrative process, the Supreme Court’s clear and broad pronouncements that

“To punish a person because he has done what the law plainly allows him to do is

a due process violation of the most basic sort,” and that “an individual . . .

certainly may not be punished for exercising a protected statutory or

constitutional right” directly control the facts of this situation. Here, again, Zen

and Otamendi have alleged Bennett and others engaged in precisely the forbidden

conduct.

      Beyond the Court’s clear and broad pronouncement that the Due Process

Clause of the Fourteenth Amendment prohibits taking adverse action against an

individual for exercising a protected statutory or constitutional right – precisely

what Zen and Otamendi have alleged here – the facts of Goodwin, and the line of

cases leading to it, demonstrate that the Due Process Clause prohibits a state

official from taking adverse action against an individual (there, charging the

individual with more serious crimes or imposing a harsher sentence) in retaliation



                                          38
USCA11 Case: 22-10319         Document: 26      Date Filed: 04/22/2022   Page: 51 of 71



for that individual exercising his statutory or constitutional rights (there, pleading

not guilty and demanding a trial or appealing a conviction).

       Here, again, Zen and Otamendi have alleged they had a clear legal right to

challenge AHCA’s overpayment demand (including the $276,000 fine) through the

statutorily-established administrative process with all its attendant panoply of

rights – like the rights of the defendants in Goodwin and Bordenkircher and Pearce

to plead not guilty, to put the state to its proof, or to appeal a conviction – and

Defendants-Appellees retaliated against them (here by imposing an unjustified and

unlawful payment suspension and making an unfounded fraud referral to MFCU)

for the exercise of their rights.

       Just as “[i]t can hardly be doubted that it would be a flagrant violation [of

the Due Process Clause] of the Fourteenth Amendment for a state trial court to

follow an announced practice of imposing a heavier sentence upon every

reconvicted defendant for the explicit purpose of punishing the defendant for his

having succeeded in getting his original conviction set aside,” see Pearce, 395

U.S., at 723-24, it can hardly be doubted it would be a blatant violation of the Due

Process Clause for Bennett and AHCA to follow a practice of punishing Medicaid

providers who successfully challenge an AHCA FAR by making unfounded fraud

referrals and suspending indefinitely their Medicaid payments. Cf. id. at 725 (“Due

process of law, then, requires that vindictiveness against a defendant for having



                                           39
USCA11 Case: 22-10319       Document: 26        Date Filed: 04/22/2022   Page: 52 of 71



successfully attacked his first conviction must play no part in the sentence he

receives after a new trial.”). In sum, the factual scenarios presented by the cases in

which the Supreme Court reaffirmed this broad principle are analogous in many

important respects to the present case, and establish conclusively that Defendants-

Appellees had fair warning that their retaliatory conduct violated Zen’s and

Otamendi’s constitutional rights.

      Second, as discussed above, the unconstitutional conditions doctrine has

been clear for at least half a century. Further, the constitutional right upon which

Defendants-Appellees placed an unconstitutional condition – i.e., the due process

right to challenge AHCA’s FAR allegations and imposition of a fine in excess of

$276,000 and recoupment of Medicaid payments in excess of $1.3 million – is also

clearly established, if not self-evident. Consequently, Defendants-Appellees can

find no sanctuary in qualified immunity.

      D.     Conclusion

      The district court erred in dismissing Count I, and this Court should reverse,

and reinstate Count I.

II.   Count II of the AC States A Section 1983 Claim Under The First
      Amendment And The District Court Erred In Dismissing Count II

      In Count II of the AC, Zen and Otamendi allege Defendants-Appellees

violated their First Amendment rights to petition the government for redress and to

free speech when Defendants-Appellees retaliated against them because Zen and


                                           40
USCA11 Case: 22-10319        Document: 26      Date Filed: 04/22/2022   Page: 53 of 71



Otamendi filed a Petition For Hearing seeking an administrative hearing in DOAH

challenging AHCA’s 2019 FAR and because Zen and Otamendi harshly criticized

AHCA in a sanctions motion served in the administrative case.

      The district court correctly identified the elements of a First Amendment

retaliation claim as articulated by this Court. See DE:32 at 11 (citing DeMartini v.

Town of Gulf Stream, 942 F.3d 1277 (11th Cir. 2019)). In DeMartini, this Court

held: “To state a § 1983 First Amendment retaliation claim, a plaintiff generally

must show: (1) she engaged in constitutionally protected speech, such as her right

to [criticize or] petition the government for redress; (2) the defendant’s retaliatory

conduct adversely affected that protected speech and right to petition; and (3) a

causal connection exists between the defendant’s retaliatory conduct and the

adverse effect on the plaintiff's speech and right to petition.” 942 F.3d at 1289.

      As the district court noted, “Defendants [did] not contest the second or third

elements,” thus Defendants-Appellees’ “only contention [below was] Plaintiffs’

petition for administrative review of the Demand is not constitutionally protected

speech under the First Amendment.” DE:32 at 11-12.

      Considering this lone issue, the district court granted Defendants-Appellees’

motion to dismiss Count II on the ground that Zen did not speak as a private citizen

on a matter of public concern when it petitioned for an administrative hearing to

challenge AHCA’s 2019 FAR. In dismissing Count II, the district court erred in



                                          41
USCA11 Case: 22-10319        Document: 26       Date Filed: 04/22/2022   Page: 54 of 71



multiple ways, relying on facile labels and eschewing the Supreme Court’s clear

commands to conduct a “nuanced” and fact-specific analysis of the relevant issues.

      First, the district court erred by (1) applying wholesale the public employee

Free Speech Clause law to Zen, a Medicaid contractor, not a public employee, and

(2) mechanically applying Free Speech Clause law to Zen’s and Otamendi’s

Petition Clause claim. Second, the district court erred in concluding Zen’s speech

and petition activity was not on a matter of public concern, failing to conduct the

required fact-specific analysis of “the content, form, and context” of the First

Amendment activity. See Connick v. Myers, 461 U.S. 138, 147-48 (1983).

      A.     The First Amendment Protects The Right To Petition and To Free
             Speech and the Right To Be Free From Retaliation For the
             Exercise Of Those Rights

      “This Court and the Supreme Court have long held that state officials may

not retaliate against private citizens because of the exercise of their First

Amendment rights.” Bennett v. Hendrix, 423 F.3d 1247, 1255 (11th Cir. 2005).

Supreme Court “precedents confirm that the Petition Clause protects the right of

individuals to appeal to courts and other forums established by the government for

resolution of legal disputes.” Duryea, Pa. v. Guarnieri, 564 U.S. 379, 387 (2011);

DeMartini, 942 F.3d at 1288 (same).

      Consequently, if Zen and Otamendi acted as private citizens in petitioning to

challenge AHCA’s FAR allegations through the administrative process and in



                                           42
USCA11 Case: 22-10319       Document: 26       Date Filed: 04/22/2022   Page: 55 of 71



criticizing AHCA and its BA Services program, Defendants-Appellees’ conduct in

imposing an unfounded and unlawful payment suspension in retaliation would

violate the First Amendment and be actionable under Section 1983. See id. The

question thus becomes how does Zen’s status as a contractual Medicaid provider

alter these First Amendment rights.

      The law regarding the constitutional right to be free from retaliation for

the exercise of First Amendment rights in the context of government employees,

and the limitations on that right, has been well developed in Pickering and its

progeny. Pickering announced a straightforward, if not always easily applied,

test for public employee Free Speech cases that requires balancing the “interests

of the [public employee], as a citizen, in commenting upon matters of public

concern and the interest of the State, as an employer, in promoting the

efficiency of the public services it performs through its employees.” 391 U.S.

563 at 568.

      As relevant here, while the Court has applied the Speech Clause “public

concern test” to a Section 1983 claim brought by a public employee grounded in

the Petition Clause, see Guarnieri, 564 U.S. at 383, and extended the “public

concern test” to a Speech Clause case brought by an independent contractor, see

Umbehr, 518 U.S. at 685 (trash hauling contractor claimed county commissioners

violated rights under the Free Speech Clause in retaliation for his public criticism),



                                          43
USCA11 Case: 22-10319       Document: 26      Date Filed: 04/22/2022   Page: 56 of 71



the public concern test has never been extended to government contractors raising

First Amendment Petition Clause claims.

      Despite identifying no case applying the “public concern test” to a retaliation

claim grounded in the Petition Clause brought by an independent contractor, as

opposed to a public employee, the district court uncritically conflated the petition

and speech analysis to support this novel rule, and mechanically applied the

extensions of the public concern doctrine recognized in Guarnieri and Umbehr

without regard to the particular circumstances presented here. The district court

analysis erroneously proceeds as if Umbehr rounded independent contractor cases

up to public employee cases, and Guarnieri rounded Petition Clause cases into

Speech Clause cases and the court just had to add up the result. But a number

rounded up to two plus a number rounded up to two does not necessarily equal four

(1.5 + 1.5 ≠ 4).

      B.     The District Court Erred By Extending The Pickering Balancing
             And Public Concern Test To The Petition Clause Claim Raised By
             Zen, A Medicaid Contractor That Petitioned To Challenge An
             AHCA Overpayment Demand

      The district court, improperly relying on facile labels, erred by extending

Pickering balancing and the public concern test to the circumstances presented

here. See Guarnieri, 564 U.S. at 388-89 (“Courts should not presume there is

always an essential equivalence in the two Clauses or that Speech Clause

precedents necessarily and in every case resolve Petition Clause claims. . . There

                                         44
USCA11 Case: 22-10319         Document: 26      Date Filed: 04/22/2022    Page: 57 of 71



may arise cases where the special concerns of the Petition Clause would provide a

sound basis for a distinct analysis; and if that is so, the rules and principles that

define the two rights might differ in emphasis and formulation.”); Umbehr, 518

U.S. at 678 (courts must take a “nuanced approach” in applying Pickering

balancing test, “which recognizes the variety of interests that may arise in

independent contractor cases”).

      The very case that extended the public concern test to Petition Clause cases

brought by public employees acknowledged the private nature of the Petition

Clause and stated specifically that the holding was limited to the public

employment context: “Outside the public employment context, constitutional

protection for petitions does not necessarily turn on whether those petitions

relate to a matter of public concern.” Guarnieri, 564 U.S. at 394 (emphasis

added); id. (“The Petition Clause undoubtedly does have force and application in

the context of a personal grievance addressed to the government. . . Although some

claims will be of interest only to the individual making the appeal, for that

individual the need for a legal remedy may be a vital imperative.”).

      Moreover, the very case that extended the Pickering balancing test to

independent contractor Free Speech Clause cases recognized the different interests

the government has when acting as an employer versus when acting as a

contractor, as well as core differences between independent contractors and



                                           45
USCA11 Case: 22-10319       Document: 26      Date Filed: 04/22/2022   Page: 58 of 71



government employees. See Umbehr, 518 U.S. at 673, 676, 680 (“Pickering

balancing test” must be “adjusted to weigh the governments interests as contractor

rather than as employer”; “independent contractors . . . work at a greater remove

from government officials than do most government employees”); see also id. at

677 (“Pickering requires a fact-sensitive and deferential weighing of the

government’s legitimate interests.”).

      Here, none of the recognized government interests in controlling public

employee speech and petition activity to “promot[e] the efficiency of the public

services it performs through its employees” – one of the two Pickering balancing

factors – applies to Plaintiffs-Appellants’ Petition Clause claim.

      First, as Medicaid providers, Zen and Otamendi do not speak for the

government, and often find themselves in harmless disputes with the government

over the appropriateness of payment. Unlike the public employee Free Speech

context that led to the complicated public-private-speaker analysis and public

concern test, in the Medicaid contractor Petition Clause context, no reasonable

outside observer could believe the Medicaid provider was speaking for the state

and no reasonable outside observer could confuse the Medicaid provider’s speech

for that of the state. See Umbehr, 518 U.S. at 677. Consequently, AHCA and

Florida have no legitimate concern that a Medicaid contractor challenging an FAR

will “express views that contravene governmental policies or impair the proper



                                         46
USCA11 Case: 22-10319        Document: 26      Date Filed: 04/22/2022   Page: 59 of 71



performance of governmental functions.” See Garcetti v. Ceballos, 547 U.S. 410,

419 (2006).

      Further, unlike public employees engaging in speech, AHCA has no interest

in “maintaining harmonious working environments and relationships recognized in

our government employee cases,” Umbehr, 518 U.S. at 677, with regard to

Medicaid contractors. The relationship between Medicaid providers such as Zen

and AHCA “are not the kind of close working relationships for which it can

persuasively be claimed that personal loyalty and confidence are necessary to their

proper functioning.” Pickering, 391 U.S. at 570.

      Even beyond the general conclusions that independent contractors work at

greater remove from the government, see Umbehr, 518 U.S. at 673, 676, 680, and

that “the government’s interests are typically . . . somewhat less strong in the

independent contractor case,” id. at 684, Medicaid providers work at the greatest

remove and Medicaid providers’ exercise of their petition right to challenge an

overpayment demand implicates no legitimate government interests. A Medicaid

provider stands in a highly distinct position from a government contractor who

works closely with government employees, or speaks and acts on behalf of the

government, for example, a government contractor that administers student loans

for the Department of Education, or a government contractor that monitors and

audits Medicaid or Medicare providers for CMS, both of whom essentially stand in



                                          47
USCA11 Case: 22-10319         Document: 26      Date Filed: 04/22/2022   Page: 60 of 71



the shoes of, and speak on behalf of, the government, and work closely with

government employees.

         In sum, the government interest in controlling Medicaid providers’ exercise

of their right to petition for review of AHCA overpayment demands is vanishingly

small.

         On the other hand, Zen’s and Otamendi’s interest in petitioning for access to

the administrative process to challenge AHCA’s FAR seeking to force Zen to pay

the Agency over $1.6 million (including over $276,000 in fines) – the other side of

the Pickering balance – is at an acme.

         In this context, Medicaid contractors, such as Zen, are functionally

indistinguishable from licensees, private citizens regulated by state administrative

agencies. As discussed, AHCA’s 2019 FAR was nothing less than a charging

document attempting to impose “penal in nature” fines upon Zen based on a

probable cause determination; thus, in all material respects the FAR was identical

to an administrative complaint a state agency might issue attempting to impose

fines or other sanctions against a licensee. There can be no doubt that a state

official is barred by the First Amendment Petition Clause from taking adverse

action against a licensee in retaliation for that licensee exercising her right to

petition for an administrative hearing to challenge agency allegations in an

Administrative Complaint. Similarly, in all constitutionally relevant ways, a



                                           48
USCA11 Case: 22-10319       Document: 26      Date Filed: 04/22/2022   Page: 61 of 71



Medicaid contractor petitioning to challenge an AHCA overpayment demand

resembles an inmate petitioning to avoid administrative punishment or to

challenge the conditions of his confinement. See, e.g., Boxer X v. Harris, 437

F.3d 1107, 1112 (11th Cir. 2006) (“First Amendment rights to free speech and to

petition the government for a redress of grievances are violated when a prisoner

is punished for filing a grievance concerning the conditions of his

imprisonment.”), abrogated on other grounds by Wilkins v. Gaddy, 559 U.S. 34,

37 (2010).

      Here, in almost every material way, Zen acted as a private citizen in

petitioning for administrative review of AHCA’s FAR. Stated simply, Zen and

Otamendi have a momentous interest in petitioning for an administrative hearing to

challenge the AHCA’s overpayment demand – more than 1.6 million reasons –

while AHCA has little or no legitimate interest in controlling or influencing Zen’s

(or any Medicaid provider’s) petition activity to challenge a FAR.

      Consequently, the district court erred in extending the public concern test to

this case, where a state Medicaid contractor raised a Petition Clause retaliation

claim rooted in Zen’s petition for an administrative hearing to challenge AHCA’s

2019 FAR allegations and overpayment demand.




                                         49
USCA11 Case: 22-10319       Document: 26      Date Filed: 04/22/2022   Page: 62 of 71



      C.     Even If The Public Concern Test Applies Here, The District
             Court Erred In Dismissing Count II Because Zen and Otamendi
             Were Petitioning and Speaking On Matters Of Public Concern In
             The 2019 Administrative Case Challenging AHCA’s FAR

      Zen and Otamendi were petitioning and speaking as citizens on matters of

public concern when they petitioned for an administrative hearing and criticized

AHCA, and the district court erred in concluding otherwise.

      The Supreme Court has instructed repeatedly that “[w]hether [a plaintiff’s]

speech addresses a matter of public concern must be determined by the content,

form, and context of a given statement, as revealed by the whole record.” Connick

v. Myers, 461 U.S. 138, 147-48 (1983); Guarnieri, 564 U.S. at 398 (same). Thus,

the district court was required to examine the details of the petition and speech for

which Defendants-Appellees retaliated against Zen and Otamendi. The district

court failed to acknowledge this standard and failed to apply it, instead relying on

the precise type of empty labels and self-serving conclusory characterizations the

Court has condemned.

      Applying the proper standard and examining the content, form, and

context of Plaintiffs-Appellants’ alleged First Amendment activity

demonstrates that Zen’s petition for redress in DOAH (and related sanctions

motion) is “fairly characterized as” a petition on a matter of public concern,

Connick, 461 U.S. at 146, and not “a matter of purely private concern,”

Guarnieri, 564 U.S. at 398.

                                         50
USCA11 Case: 22-10319       Document: 26       Date Filed: 04/22/2022   Page: 63 of 71



      In considering the “context” of the petition, “the forum” in which it is

lodged “will be relevant to the determination whether the petition relates to a

matter of public concern.” Id. Here, Zen filed its Petition For Formal Hearing

pursuant to controlling Florida Statutes providing a detailed legislative scheme

for a highly formal and very public hearing with all dockets, pleadings,

motions, rulings and orders publically available, and searchable on the DOAH

website. See § 119.011(12), Fla. Sta. (2019). This forum stands in stark

contrast to that of Guarnieri, where the plaintiff’s “petition” was a union

grievance resolved in arbitration, and the Court observed: “A petition filed with

an employer using an internal grievance procedure in many cases will not seek

to communicate to the public or to advance a political or social point of view

beyond the employment context.” 564 U.S. at 398. Here, the forum in which

Zen filed its petition supports a finding the petition related to a matter of public

concern.

      The “content and form” further confirm Zen’s petition is fairly characterized

as relating to a matter of public concern. From the outset, in its Petition For

Formal Hearing, Zen sought a declaration that AHCA was acting on the basis of a

prohibited non-rule policy and that such non-rule policies did not carry the force of

law. See DE:24-1 at 2 (Zen’s petition requested “finding that AHCA’s conclusions

are un-promulgated rules without any force of law”); DE:17 at 9-10 (¶ 26).



                                          51
USCA11 Case: 22-10319      Document: 26      Date Filed: 04/22/2022   Page: 64 of 71



      Moreover, Zen’s Petition Clause activity in this case encompasses the

Motion For Sanctions it served on the Agency in the course of DOAH proceedings.

In its sanctions motion, which includes a sections titled, “Agency Attempts To

Change Policy Without Amending Or Adopting New Rule,” and “Agency Disarray

In Interpreting and Applying Rule 59G-4.125 Leads To Prohibited Arbitrary And

Capricious Agency Action,” DE:17-2, at 6, 9, Zen asserted the “Agency sought to

recoup payments it had made under the program by any means necessary,”

including “re-writing post hoc the experience qualification requirement to impose

myriad requirements not included in the duly adopted Agency rules or the

coverage policies incorporated therein,” id. at 13, and Zen complained about “the

new, ad hoc, informal, extra-rulemaking additions the Agency attempts to include

post-hoc in the experience requirement,” id. at 14. See also DE:17 at 10 (¶¶29-30).

In sum, Zen’s petition contended AHCA created out of thin air, and certainly

outside the rulemaking process, new, unwritten, after-the-fact requirements for

Behavior Assistants to qualify to provide Medicaid services, and that AHCA then

attempted to retroactively apply those new unlawful requirements to BA providers

in an effort to recoup Medicaid money previously paid by AHCA. Zen’s non-rule

policy challenge laid out in the sanctions motion explicitly argued the Agency was

prohibited from enforcing such an illegal, unadopted rule on Zen “or any other

provider.” See id. at 42 (arguing AHCA’s “arbitrary and capricious, ad hoc



                                        52
USCA11 Case: 22-10319        Document: 26         Date Filed: 04/22/2022   Page: 65 of 71



additional requirements” were “not part of any rule,” and “were unknowable to

Zen Group or any other provider”).

      Clear Florida law leaves no doubt Zen’s rule challenge, which made up a

core component of Zen’s petition for redress, would have had precedential effect

on all Medicaid providers. Such law (1) explicitly authorizes such generalized rule

challenges, § 120.57(1)(e)2, Fla. Stat. (a “party’s timely petition for hearing may

challenge the proposed agency action . . . based on an alleged unadopted rule”), (2)

explicitly prohibits “agency action that determines the substantial interests of a

party on an unadopted rule,” § 120.57(1)(e)1, (3) severely restricts an agency’s

authority to reject an ”administrative law judge’s determination regarding an

unadopted rule under subparagraph 1, or subparagraph 2” § 120.57(1)(e)4, and (4)

would prohibit AHCA from applying the provisions determined to constitute an

unadopted rule in Zen’s case to any other provider and any other case, see Gessler

v. DBPR., 627 So. 2d 501, 504 (Fla. 4th DCA 1993) (recognizing “principle of

administrative stare decisis in Florida”); Pagan v. Sarasota Cty. Pub. Hosp. Bd.,

884 So. 2d 257, 266 (Fla. 2d DCA 2004) (Gessler based on “fundamental principle

that like cases should be treated alike”).

      In this context, the BA provider community in particular had great interest in

Zen’s petition raising the issue that AHCA was disqualifying previously-

authorized rendering providers (and recouping previously-issued payments) on the



                                             53
USCA11 Case: 22-10319       Document: 26      Date Filed: 04/22/2022   Page: 66 of 71



basis of an unadopted rule. The BA provider community knew – just as AHCA

did – that any favorable ruling on Zen’s petition would carry far-reaching

consequences affecting millions of dollars for each provider and scores or

hundreds of millions of dollars BA system-wide. AHCA’s knowledge of the

prospective general applicability of such a favorable ruling on Zen’s petition was a

substantial motivating factor in the Agency settling with Zen on extremely

favorable terms. See DE:17 at 11(¶31).

      Finally, because Zen’s petition concerned an issue with the potential to

significantly impact AHCA’s widespread effort to recoup Medicaid payments from

Florida Medicaid providers of BA services throughout South Florida and statewide

– involving a full statewide review of all previously authorized BA rendering

providers’ qualifications with Medicaid recoupment implications in the hundreds

of millions of dollars – Zen’s petition centered on a subject the Supreme Court has

held is quintessentially a matter of public concern. See Harris v. Quinn, 573 U.S.

616, 652-54 (2014) (applying public concern test in the context of speech related to

Medicaid expenditures, and concluding, “it is impossible to argue that the level of

Medicaid funding . . . is not a matter of great public concern”). According to the

Court, because of the nature of the Medicaid program and its enormous costs –

both as a gross amount and a percentage of state budgets – speech about Medicaid

expenditures inherently centers on matters of public concern. Id.



                                         54
USCA11 Case: 22-10319        Document: 26      Date Filed: 04/22/2022   Page: 67 of 71



      Further evidencing the public interest in the issues raised in Zen’s petition –

AHCA’s disastrous implementation of the BA services program, and its 2018

efforts to control runaway costs and recoup moneys spent on the BA services

program – was the subject of serious media coverage. See DE:24-2 at 3-6 (2018

Miami Herald article discussing, inter alia, AHCA’s controversial recoupment

efforts directed at retroactively attacking the credentials of previously-approved

therapists); City of San Diego v. Roe, 543 U.S. 77, 83-84, (2004) (“public concern

is something that is a subject of legitimate news interest”).

      In sum, an examination of the content, form, and context of the petition, as

revealed by the whole record, confirms that Zen’s petition was of great interest to

the BA provider community and the general public, and is fairly characterized as

relating to a matter of public concern.

      Consequently, as a factual and legal matter, the district court erred in baldly

asserting, without any analysis or discussion of the “content, form, and context” of

Zen’s petition or speech: “Zen Group’s petition pertained only to its individual

grievance. As such, Zen Group did not speak as a citizen on a matter of public

concern but in its capacity as a medical provider.” DE:32 at 12. 4 The fact that Zen


4
  Contrary to the district court’s conclusion, based on this Court’s unpublished and
non-precedential opinion in BMI Salvage Corp. v. Manion, 366 Fed. Appx. 140
(2010), the Garcetti capacity-of-the-speaker inquiry is simply inapplicable to this
case, because Zen, as a Medicaid provider, never speaks or petitions as part of its
relationship to the state. See DE:24 at 7-9 & n.4.

                                          55
USCA11 Case: 22-10319        Document: 26       Date Filed: 04/22/2022   Page: 68 of 71



stood to benefit from preventing AHCA from applying a post-hoc non-rule policy

to unlawfully recoup money legitimately paid to Zen and other BA providers, does

not convert its First Amendment activity on matters of public concern into purely

private activity. Cf. Carter v. City of Melbourne, Fla., 731 F.3d 1161, 1169 (11th

Cir. 2013) (“The fact that Carter would be affected by the policy changes for which

he was advocating cannot be cause alone to deny him First Amendment

protections. The Supreme Court’s First Amendment case law has never required a

speaker addressing political matters to be disinterested or unaffected personally by

the policies he advocates . . .”); Garcetti 547 U.S. at 421.

      In sum, because Zen’s petition activity in DOAH centered on a matter of

public concern, even if this Court extends Pickering balancing and the public

concern test to the circumstances presented here, Zen engaged in constitutionally-

protected activity, Defendants-Appellees’ retaliatory conduct violated the First

Amendment, Count II of the AC states a claim for relief under Section 1983, and

the district court erred in dismissing Count II. 5


5
  The district court failed to address Zen’s and Otamendi’s allegations and
argument that they engaged in constitutionally-protected free speech in their
sanctions motion criticizing AHCA and its employees. Much of Speech Clause
overlaps with the foregoing discussion demonstrating Zen’s sanctions motion
constitutes speech on a matter of public concern, thus Zen’s Speech Clause claim
provides an independent basis for Section 1983 liability.
       Beyond all Zen’s protected speech concerning AHCA’s efforts to illegally
recoup Medicaid money by way of an ex post non-rule policy, aimed at deterring
the Agency from acting unlawfully, the sanctions motion aired AHCA’s dirty

                                           56
USCA11 Case: 22-10319       Document: 26       Date Filed: 04/22/2022   Page: 69 of 71



      D.     Defendants-Appellees Are Not Entitled To Qualified Immunity
             On Count II

      Defendants-Appellees are not entitled to qualified immunity. The foregoing

discussion of controlling law, all decided prior to the improper conduct alleged in

the AC, demonstrates the constitutional rights Defendants-Appellees violated were

clearly established at the time of the conduct.

      The core cases discussed above constitute a “robust consensus of cases of

persuasive authority” that provided Defendants-Appellees more than “fair warning”

(1) Zen’s petition and speech activity was protected by the First Amendment, and

(2) they were forbidden from issuing an unfounded criminal fraud referral and

suspending Medicaid payments in retaliation for Zen exercising its First Amendment

rights. See Carollo v. Boria, 833 F.3d 1322, 1333 (11th Cir. 2016) (rejecting

qualified immunity in §1983 First Amendment retaliation case because plaintiff

“plausibly pled that at least some of his speech was about matters of public

concern”). Thus, Defendants-Appellees are not entitled to qualified immunity.

      E.     Conclusion

      The district court erred in dismissing Count II, and this Court should reverse,

and reinstate Count II.


laundry and internal divisions, quoted extensively from depositions and emails of
key Agency personnel tasked with issuing Medicaid provider numbers to behavior
assistant applicants, and roundly criticized AHCA’s administration of its BA
program. See DE:17-2 at 9-13.

                                          57
USCA11 Case: 22-10319     Document: 26      Date Filed: 04/22/2022   Page: 70 of 71



                                CONCLUSION

     This Court should reverse the district court order dismissing Counts I and II

of the Amended Complaint.

                                     Respectfully submitted,

                                     THE HEALTH LAW OFFICES
                                     OF ANTHONY C. VITALE P.A.
                                     Anthony C. Vitale, Esq.
                                     Florida Bar No. 249841
                                     2333 Brickell Avenue, Suite A-1
                                     Miami, Florida 33129
                                     (305) 358-4500 telephone
                                     (305) 358-5113 facsimile
                                     avitale@vitalehealthlaw.com

                                     ELLSWORTH LAW FIRM, P.A.
                                     Sean M. Ellsworth, Esq.
                                     Florida Bar No. 039845
                                     1000 5th Street, Suite 223
                                     Miami Beach, Florida 33139
                                     (305) 535-2529 telephone
                                     (305) 535-2881 facsimile
                                     sean@ellslaw.com

                                      /s/ Sean M. Ellsworth
                                     Sean M. Ellsworth




                                       58
USCA11 Case: 22-10319       Document: 26       Date Filed: 04/22/2022   Page: 71 of 71



   CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMIT,
  TYPEFACE REQUIREMENTS, AND TYPE-STYLE REQUIREMENTS

      I HEREBY CERTIFY this brief complies with the type-volume limitations

set forth in Fed. R. App. P. 32(a)(7). This brief contains 12,944 words, including

all headings, footnotes, and quotations, and excluding the parts of the brief

exempted under Fed. R. App. P. 32(f) and 11th Cir. R. 32-4.

      I HEREBY FURTHER CERTIFY, that this brief complies with the typeface

and type style requirements of Fed. R. App. P. 32(a)(5) and (6) because it has been

prepared in a proportionally-spaced typeface using Microsoft Word in 14-point

Times New Roman font.

                                          /s/ Sean M. Ellsworth
                                         Sean M. Ellsworth



                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on April 22, 2022, a true and correct copy of the

foregoing has been filed electronically with the Clerk using CM/ECF who will

serve a copy on all counsel of record.

                                          /s/ Sean M. Ellsworth
                                         Sean M. Ellsworth




                                          59
